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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 08-CV-80811-CIV-MARRA/JOHNSON
C.M.A.,

Plaintiff(s),
vs.

JEFFREY EPSTEIN and SARAH
KELLEN,

Defendant(s).

FIRST AMENDED COMPLAINT
Parties, Jurisdiction and Venue

COMES NOW the Plaintiff, C.M.A., and brings this First Amended Compiaint
against the Defendants, JEFFREY EPSTEIN and SARAH KELLEN, and states as
follows:

4. This is an action for damages in excess of $75,000.00, exclusive of
interest and costs.

2. This Complaint is brought under a fictitious name in order to protect the
identity of the Plaintiff, C.M.A., because this Complaint makes allegation of sexual
assault and child abuse of a then minor.

3. At all times material to this cause of action, the Plaintiff, C.M.A., was a

resident of Palm Beach County, Florida.
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4. At all times material to this cause of action, the Defendant, JEFFREY
EPSTEIN, had a residence located in Palm Beach County, Florida.

5. At all times material to this cause of action, the Defendant, JEFFREY
EPSTEIN, was an adult male, born in 1953.

6. This Court has jurisdiction of this action and the claim set forth herein
pursuant to 18 U.S.C. §2255.

7. This Court has venue of this action pursuant to 28 U.S.C. §1391(a) as a
substantial part of the events or omissions giving rise to the claim occurred in this
district.

8. At all times material, the Defendant, JEFFREY EPSTEIN, owed a duty
unto Plaintiff, C.M.A., to treat her in a non-negligent manner and to not commit
intentional or tortious illegal acts against her.

Factual Allegations

9, Upon information and belief, the Defendant, JEFFREY EPSTEIN, has
demonstrated a sexual preference and obsession for minor girls. He engaged in a plan,
scheme, and enterprise in which he gained access to economically disadvantaged
minor girls, such as Plaintiff, C.M.A., sexually assaulted these girls, and/or coerced
them to engage in prostitution, and in return gave these girls money.

10. The Defendant's plan, scheme and enterprise included an elaborate

_ system wherein the then minor Plaintiff and other minor girls were brought to the
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Defendant, JEFFREY EPSTEIN’S, residence by the Defendant's employees and
assistants. When the employees and assistants left the then minor Plaintiff and other
minor girls alone in a room at the Defendant’s mansion, the Defendant, JEFFREY
EPSTEIN, himself would appear, remove his clothing, and direct the then minor Plaintiff
to remove her clothing. He would then perform one or more lewd, lascivious, and
sexual acts, including, but not limited to, masturbation, touching of the then minor
Plaintiff's breasts and buttock, and solicitation and enticement of the then minor Plaintiff
to engage in sexual acts with another female in JEFFREY EPSTEIN’S presence,

11. The Plaintiff, C.M.A., was the first brought fo the Defendant, JEFFREY
EPSTEIN’S, mansion in late May or early June of 2002, when she was fifteen-years old
and in middie school.

12. The Defendant, JEFFREY EPSTEIN, a wealthy financier with a lavish
home, significant wealth, a network of assistants and employees, used his resources
and his influence over a vulnerable minor child to engage in a systematic pattern of
sexually exploitive behavior.

13. Beginning in approximately late May or early June of 2002, and continuing
until approximately August of 2003, the Defendant coerced and enticed the
impressionable, vulnerable, and economically deprived then minor Plaintiff to commit
various acts of sexual misconduct. These acts occurred, on average, one to three times

per week from late May or early June of 2002 until August of 2003. At a bare minimum,
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these acts occurred twice a month from June 2002 until August of 2003. While the
precise dates these acts occurred are unknown to Plaintiff, including those weeks in
which no acts occurred, these dates are known by Defendant, JEFFREY EPSTEIN, as
he is reported to have kept a written log of each and every instance in which he
engaged in these illegal acts with the then minor Plaintiff, C.M.A. and others. These
acts included, but were not limited to, fondling and inappropriate and illegal sexual
touching of the then minor Plaintiff, sexual misconduct and masturbation of the
Defendant, JEFFREY EPSTEIN, in the presence of the then minor Plaintiff, soliciting
and enticing the then minor Plaintiff to engage in sexual acts with another female in
JEFFREY EPSTEIN’S presence, and encouraging the then minor Plaintiff to become
involved in prostitution; Defendant, JEFFREY EPSTEIN, committed numerous criminal
sexual offenses against the then minor Plaintiff including, but not limited to, sexual
battery, solicitation of prostitution, procurement of a minor for the purpose of
prostitution, and lewd and lascivious assaults upon the person of the then minor
Plaintiff.

14. Defendant, JEFFREY EPSTEIN, used his money, wealth and power to
unduly and improperly manipulate and influence the then minor Plaintiff.

15. The acts referenced in paragraphs 9 through 14, committed by Defendant,
JEFFREY EPSTEIN, against the then minor Plaintiff, C.M.A.. were committed in

violation of numerous criminal State and Federal statutes condemning the sexual
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exploitation of minor children, prostitution, sexual performance by a child, lewd and
lascivious assaults, sexual battery, contributing the delinquency of a minor and other
crimes, specifically including, but not limited to, those crimes designated in 18 USC
§2241, §2242, §2243, §2421, and §2423, criminal offenses outlined in Chapter 800 of
the Federal Codes, as well as those designated in Florida Statutes §796.03, §796.07,
§796.045, §796.04, §39.01; and §827.04.

16. The above-described acts took place in Palm Beach County, Florida, at
the residence of the Defendant, JEFFREY EPSTEIN. Any assertions by the Defendant,
JEFFREY EPSTEIN, that he was unaware of the age of the then minor Plaintiff are
belied by his actions and rendered irrelevant by the provisions of applicable Florida
Statutes concerning the sexual exploitation and abuse of a minor child. The Defendant,
JEFFREY EPSTEIN, at all times material to this cause of action, knew and should have
known of the Plaintiff, C.M.A.’s minority.

17. In June 2008, in the Fifteenth Judicial Circuit in Palm Beach County,
Florida, the Defendant, JEFFREY EPSTEIN, entered pleas of “guilty” to various Florida
state crimes involving the solicitation of minors for prostitution and the procurement of
minors for the purpose of prostitution.

18. As acondition of that plea, and in exchange for the Federal Government
not prosecuting the Defendant, JEFFREY EPSTEIN, for numerous federal offenses,

Defendant, JEFFREY EPSTEIN, additionally entered into an agreement with the
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Federal Government to the following: “Any person, who while a minor, was a victim of
an offense enumerated in Title 18, United States Code, Section 2255, will have the
same rights to proceed under section 2255 as she would have had, if Mr. Epstein had
been tried federally and convicted of an enumerated offense. For purposes of
implementing this paragraph, the United States shall provide Mr. Epstein’s attorneys
with a list of individuals whom it was prepared to name in an indictment as victims of an
enumerated offense by Mr. Epstein. Any judicial authority interpreting this provision,
including any authority determining evidentiary burdens if any a Plaintiff must meet,
shall consider that it is the intent of the parties to place these identified victims in the
same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less”.

19. The Defendant, JEFFREY EPSTEIN, is thus estopped by his plea and
agreement with the Federal Government from denying the acts alleged in this
Complaint, and must effectively admit liability to the Plaintiff, C.M.A.

COUNTI
Cause of Action Pursuant to 18 USC §2255
May/June 2002

20. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.
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21. In late May or early June of 2002, C.M.A. was first introduced to
Defendant, JEFFREY EPSTEIN. C.M.A. was brought to JEFFREY EPSTEIN’S
residence by a female friend of hers. C.M.A. sat on the couch while the female friend
took off her own clothes, mounted JEFFREY EPSTEIN who was wearing only a towel
and lying on a table, and performed a sexual act upon JEFFREY EPSTEIN in the
presence of C.M.A. In exchange for her participation as an observer of JEFFREY
EPSTEIN’S lewd and lascivious conduct, C.M.A. was paid $300 by JEFFREY
EPSTEIN.

22. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must

meet, shall consider that it is the intent of the parties to place these identified victims in
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the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

23. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

24. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

25. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, !oss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, CMA. will in

the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
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has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT Ii
Cause of Action Pursuant to 18 USC §2255

June 2002- Incident 2

26. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

27. Approximately one week after the first incident, C.M.A. received a
telephone call from JEFFREY EPSTEIN requesting that she return to his residence. On
this occasion, JEFFREY EPSTEIN directed C.M.A to undress to her brassiere and
underwear and to provide him with a massage. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. $300 for this encounter.
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28. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

29. ‘The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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30. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

31. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney’s fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT III
Cause of Action Pursuant to 18 USC §2255

July, 2002 — Incident 1

32. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

33. In July of 2002, C.M_A. again returned to JEFFREY EPSTEIN’S residence
at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to undress to her
underwear and to provide him with a massage. At the conclusion of the massage,
JEEEREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

34. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,

if Mr. Epstein had been tried federally and convicted of an enumerated offense. For

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purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

35. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

36. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual! offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

37. Asa direct and proximate resuit of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

suffering, emotional distress, psychological trauma, mental anguish, humiliation,

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embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney’s fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on ail

issues triable as of right by a jury.

COUNT IV

Cause of Action Pursuant to 18 USC §2255

July 2002 — Incident 2

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38. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

39, For the second time in July of 2002, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondied the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence.
JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

40. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, whe while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must

meet, shall consider that it is the intent of the parties to place these identified victims in

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the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

41. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

42. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A.. and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

43. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.MA., will in

the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

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has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on ail
issues triable as of right by a jury.

COUNT V
Cause of Action Pursuant to 18 USC §2255

August of 2002 — Incident 1

44. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

45. In August of 2002, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFEREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. in excess of $200 for this encounter.

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46. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shail provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
Victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

47. The Plaintiff, C-M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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48. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

49. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.N.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future. |

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT VI
Cause of Action Pursuant to 18 USC §2255

August of 2002 — Incident 2

50. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

51. For the second time in August of 2002, C.MA. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.'s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

52. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

53. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

54. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

55. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands frial by jury on all
issues triable as of right by a jury.

COUNT Vil
Cause of Action Pursuant to 18 USC §2255

September of 2002 — Incident 1

56. The. Plaintiff, C.MA., adopts and realleges paragraphs 1 through 19

above.

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57. in September of 2002, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondied
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFEREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

58. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and |
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no less.”

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59. ‘The Plaintiff, C.M_.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

60. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

61. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further

relief as this Court deems just and proper, and hereby demands trial by jury on all

issues triable as of right by a jury.

COUNT Vill
Cause of Action Pursuant to 18 USC §2255

September of 2002 — Incident 2

62. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

63. For the second time in September of 2002, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondied the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s

presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

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64. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

65. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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66. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

67. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

at
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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT IX
Cause of Action Pursuant to 18 USC §2255

October of 2002 — Incident 1

68. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

69. In October of 2002, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M_A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

70. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

71. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

72. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

73. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A., |
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all

issues triable as of right by a jury.
COUNT X

Cause of Action Pursuant to 18 USC §2255

October of 2002 — Incident 2

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74. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

75. For the second time in October of 2002, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. | Defendant,
JEFFREY EPSTEIN, fondled the breasts and buttocks of the then minor C.V.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

76. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must

meet, shall consider that it is the intent of the parties to place these identified victims in

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the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

77. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

78. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

79. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in

the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

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has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on ail
issues triable as of right by a jury.

COUNT Xl
Cause of Action Pursuant to 18 USC §2255

November of 2002 — Incident 1

80. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

81. In November of 2002, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. in excess of $200 for this encounter.

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82. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

83. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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84. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

85. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney’s fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT Xl
Cause of Action Pursuant to 18 USC §2255

November of 2002 — Incident 2

86. The Plaintiff, C.M.A.,, adopts and realleges paragraphs 1 through 19
above.

87. For the second time in November of 2002, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

88. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

89. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

90. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

91. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT Xili
Cause of Action Pursuant to 18 USC §2255

December of 2002 — Incident 1

92. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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93. In December of 2002, C.V.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M_A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself. in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

94. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no less.”

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95. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

96. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

97. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney’s fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XIV
Cause of Action Pursuant to 18 USC §2255

December of 2002 — Incident 2

98. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

99. For the second time in December of 2002, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondied the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s

presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

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100. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionaily entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

101. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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102. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

103. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XV
Cause of Action Pursuant to 18 USC §2255

January of 2003 — Incident 1

404. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

105. In January of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

106. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

407. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

108. Pursuant fo the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

109. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney’s fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XVI
Cause of Action Pursuant to 18 USC §2255

January of 2003 — Incident 2

110. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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111. For the second time in January of 2003, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

112. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. “No

more; no less.”

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113. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

114. Pursuant to the agreement, the Defendani, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

115. As a direct and proximate result of the offenses enumerated in Title 78,
United States Code, Section 2255, being committed against the then minor Plainiiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XVII
Cause of Action Pursuant to 18 USC §2255

February of 2003 - Incident 1

116. The Plaintiff, C-M.A., adopts and realleges paragraphs 1 through 19
above.

117. In February of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M_A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. in excess of $200 for this encounter.

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118. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

419. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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120. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

121. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Piaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C-M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XVIII
Cause of Action Pursuant to 18 USC §2255

February of 2003 — Incident 2

122. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

123. For the second time in February of 2003, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondied the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

124. As a condition of the Defendant, JEFFREY EPSTEIN's criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shail provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

125. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

126. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

127. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT Xix
Cause of Action Pursuant to 18 USC §2255

March of 2003 — Incident 1

428. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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129. In March of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondied
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

130. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no fess.”

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131. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

132. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

133. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these jiosses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney’s fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XX
Cause of Action Pursuant to 18 USC §2255

March of 2003 — Incident 2

134. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

435. For the second time in March of 2003, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence.

JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

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136. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

137. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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138. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

139. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. ‘These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney’s fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XxXI
Cause of Action Pursuant to 18 USC §2255

April of 2003 - Incident 1

140. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

141. In April of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S residence
at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully undress
and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled the
breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

142. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

143. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

144. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

145. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XxXil
Cause of Action Pursuant to 18 USC §2255

April of 2003 — Incident 2

446. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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147. For the second time in April of 2003, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence.
JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

148. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United Siates shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no less.”

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149. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government. |

150. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.VLA.

151. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT Xxill
Cause of Action Pursuant to 18 USC §2255

May of 2003 — Incident 1

152. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

153. In May of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S residence
at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully undress
and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled the
breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. in excess of $200 for this encounter.

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154. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

155. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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156. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

157. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney’s fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XXIV
Cause of Action Pursuant to 18 USC §2255

May of 2003 — Incident 2

158, The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

159. For the second time in May of 2003, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence.
JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

460. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

161. The Plaintiff, C.V.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

162. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.'MA., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

163. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XXV
Cause of Action Pursuant to 18 USC §2255

June of 2003 — Incident 1

164. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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165. In June of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M_.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

166. Asa condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no less.”

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167. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

168. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

169. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, and a

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XXVI
Cause of Action Pursuant to 18 USC §2255

June of 2003 — Incident 2

4170. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

171. For the second time in June of 2003, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence.

JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

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172. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
mere; no less.” |

473. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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474. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

175. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XXVII
Cause of Action Pursuant to 18 USC §2255

July of 2003 — Incident 1

176. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

177. In July of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S residence
at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully undress
and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled the
breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN
paid C.M.A. in excess of $200 for this encounter.

478. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more: no less.”

179. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2258, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

180. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

481. Asa direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on ail
issues triable as of right by a jury.

COUNT XXVIII
Cause of Action Pursuant to 18 USC §2255

July of 2003 — Incident 2

182. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19

above.

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183. For the second time in July of 2003, C.M.A. again returned to JEFFREY
EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN directed
C.M.A to fully undress and to provide him with a massage. Defendant, JEFFREY
EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the conclusion
of the massage, JEFFREY EPSTEIN masturbated himself in C.M.A’s presence.
JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

484. As acondition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No

more; no less.”

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185, The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government. |

186. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.M.A. |

187. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,

has suffered a loss of income, a loss of the capacity to earn income in the future, anda

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loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney’s fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XXIX
Cause of Action Pursuant to 18 USC §2255

August of 2003 — Incident 1

188. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

189. In August of 2003, C.M.A. again returned to JEFFREY EPSTEIN’S
residence at his request. On this occasion, JEFFREY EPSTEIN directed C.M.A to fully
undress and to provide him with a massage. Defendant, JEFFREY EPSTEIN, fondled
the breasts and buttocks of the then minor C.M.A. At the conclusion of the massage,
JEFFREY EPSTEIN masturbated himself in C.M.A.’s presence. JEFFREY EPSTEIN

paid C.M.A. in excess of $200 for this encounter.

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490. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section
2255, will have the same rights to proceed under section 2255 as she would have had,
if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

191. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the

United States Government.

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192. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A., and as such he must effectively admit liability unto the
Plaintiff, C.MLA.

193. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,
C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and
suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount

provided by law, punitive damages, attorney's fees, costs, and such other and further

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relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.
COUNT XXX
Cause of Action Pursuant to 18 USC §2255

August of 2003 — incident 2

194. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 19
above.

195. For the second time in August of 2003, C.M.A. again returned to
JEFFREY EPSTEIN’S residence at his request. On this occasion, JEFFREY EPSTEIN
directed C.M.A to fully undress and to provide him with a massage. Defendant,
JEFFREY EPSTEIN, fondled the breasts and buttocks of the then minor C.M.A. At the
conclusion of the massage, JEFFREY EPSTEIN masturbated himself in C.N.A.'s
presence. JEFFREY EPSTEIN paid C.M.A. in excess of $200 for this encounter.

196. As a condition of the Defendant, JEFFREY EPSTEIN’s criminal plea, and
in exchange for the Federal Government not prosecuting the Defendant for numerous
federal offenses, the Defendant, JEFFREY EPSTEIN, additionally entered into an
agreement with the Federal Government to the following: “Any person, who while a
minor, was a victim of an offense enumerated in Title 18, United States Code, Section

2255, will have the same rights to proceed under section 2255 as she would have had,

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if Mr. Epstein had been tried federally and convicted of an enumerated offense. For
purposes of implementing this paragraph, the United States shall provide Mr. Epstein’s
attorneys with a list of individuals whom it was prepared to name in an indictment as
victims of an enumerated offense by Mr. Epstein. Any judicial authority interpreting this
provision, including any authority determining evidentiary burdens if any a Plaintiff must
meet, shall consider that it is the intent of the parties to place these identified victims in
the same position as they would have been had Mr. Epstein been convicted at trial. No
more; no less.”

197. The Plaintiff, C.M.A., was a victim of one or more offenses enumerated in
Title 18, United States Code, Section 2255, and as such asserts a cause of action
against the Defendant, JEFFREY EPSTEIN, pursuant to this Section of the United
States Code and the agreement between the Defendant, JEFFREY EPSTEIN, and the
United States Government.

198. Pursuant to the agreement, the Defendant, JEFFREY EPSTEIN, is in the
same position as if he had been tried and convicted of the sexual offenses committed
against the Plaintiff, C.M.A.. and as such he must effectively admit liability unto the
Plaintiff, C.M.A.

199. As a direct and proximate result of the offenses enumerated in Title 18,
United States Code, Section 2255, being committed against the then minor Plaintiff,

C.M.A., has in the past suffered, and will in the future suffer, physical injury, pain and

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suffering, emotional distress, psychological trauma, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of dignity, invasion of her privacy and other
damages associated with Defendant, JEFFREY EPSTEIN, controlling, manipulating and
coercing her into a perverse and unconventional way of life for a minor. The then minor
Plaintiff incurred medical and psychological expenses and the Plaintiff, C.M.A., will in
the future suffer additional medical and psychological expenses. The Plaintiff, C.M.A.,
has suffered a loss of income, a loss of the capacity to earn income in the future, and a
loss of the capacity to enjoy life. These injuries are permanent in nature and the
Plaintiff, C.M.A., will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XXXl
Sexual Battery
200. The Plaintiff, C.M.A., adopts and realleges paragraphs 1 through 199

above.

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201. Between late May or early June of 2002 and August of 2003, Defendant,
JEFFERY EPSTEIN, engaged in dozens of illegal and depraved sexual acts against
Plaintiff, C.M.A. |

202. As described more fully in the above paragraphs, Defendant, JEFFERY
EPSTEIN, intentionally inflicted harmful and/or offensive sexual contact on the person of
CMA.

203. Defendant, JEFFREY EPSTEIN’S, tortuous commission of sexual battery
upon C.M.A. were done willfully and maliciously.

204. As a direct and proximate result of JEFFREY EPSTEIN’S battery on
C.M.A., she has suffered and will continue to suffer severe and permanent traumatic
injuries, including mental, psychological and emotional damages.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
JEFFREY EPSTEIN, for compensatory damages of at least the minimum amount
provided by law, punitive damages, attorney's fees, costs, and such other and further
relief as this Court deems just and proper, and hereby demands trial by jury on all
issues triable as of right by a jury.

COUNT XXXl
Conspiracy to Commit Tortious Assault Against Defendant, SARAH KELLEN
205. Plaintiff incorporates into this count the allegations of paragraphs 1

through 19.

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206. Defendant, SARAH KELLEN, is one of Defendant, JEFFREY EPSTEIN'S,
employees/assistants referenced in paragraph 12 above. Defendant, JEFFREY
EPSTEIN, Defendant, SARAH KELLEN, and others reached an agreement between
themselves for the purpose of allowing Defendant, JEFFREY EPSTEIN, to commit the
illegal acts described above upon Plaintiff, C.M.A.

207. Many of the instances of illegal sexual conduct committed by Defendant,
JEFFREY EPSTEIN, described above were perpetrated with the assistance, support,
and facilitation by Defendant, SARAH KELLAN. In fact, Defendant, SARAH KELLEN,
aided, assisted, and/or abetted Defendant, JEFFREY EPSTEIN, in his organized
scheme and plan to sexually assault, and/or coerce Plaintiff, CM.A., to engage in
prostitution.

208. Defendant, SARAH KELLEN, would often arrange times for C.M.A. to
come to Defendant, JEFFREY EPSTEIN’S, residence, would escort C.M.A. to the room
where Defendant, JEFFREY EPSTEIN, was waiting, would deliver cash from
Defendant, JEFFREY EPSTEIN, at the conclusion of a session, and took nude
photographs of Plaintiffs, C.M.A., for Defendant, JEFFREY EPSTEIN.

209. As a direct and proximate result of Defendant, SARAH KELLEN’s,
participation in the aforementioned conspiracy, Plaintiff, C.M.A, has suffered and will
continue to suffer damages, including, but not limited to, pain, suffering, emotional

distress, psychological trauma, mental anguish, humiliation, embarrassment, loss of

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self-esteem, loss of dignity, invasion of personal privacy and other damages associated
with JEFFREY EPSTEIN’S controlling , manipulating, and coercing C.M.A. into a
perverse and unconventional way of life for a minor. The then minor Plaintiff incurred
medical and psychological expenses and the Plaintiff, C.M.A., will in the future suffer
additional medical and psychological expenses. The Plaintiff, C.M.A., has suffered a
loss of income, a loss of the capacity to earn income in the future, and a loss of the
capacity to enjoy life. These injuries are permanent in nature and the Plaintiff, CMA,
will continue to suffer these losses in the future.

WHEREFORE, the Plaintiff, C.M.A., demands judgment against the Defendant,
SARAH KELLEN, for compensatory damages of at least the minimum amount provided
by law, punitive damages, attorney’s fees, costs, and such other and further relief as
this Court deems just and proper, and hereby demands trial by jury on all issues triable

as of right by a jury.

CERTIFICATE OF SERVICE
| HEREBY CERTIFY that on the 9th day of February, 2009, | electronically filed
the foregoing with the Clerk of the Court by using CM/ECF system, which will send a

notice of electronic filing to all counsel of record on the attached service list.

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